                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                             Case No. 7:21-CV-00035-D

PRIMERICA LIFE INSURANCE                          )
COMPANY                                           )
                 Plaintiff,                       )        ORDER ENTERING
                                                  )        DEFAULT JUDGMENT
              V.                                  )
                                                  )
WINFIELD SMITH, individually,                     )
MICHALE MARABLE, SR., individually, and           )
BENAJMIN R. WARRICK, in his capacity as           )
Administrator of the Estate of Barbara Ann Smith, )
                                                  )
                      Defendants.                 )


       Upon Motion for Default Judgment by Plaintiff Primerica Life Insurance Company, and

fmding that the requirements of Rule 55(b) of the Federal Rules of Civil Procedure are satisfied,

it is hereby ORDERED that a default judgment be entered against Defendant Michale Marable,

Sr. and Defendant Winfield Smith.

       SO ORDERED. This the_!_ day of December, 2021.




                                                    JAMES C. DEVER III
                                                    United States District Judge




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